Case 4:19-mc-02596 Document 1-1 Filed on 08/30/19 in TXSD Page 1of5

Christopher Eustice | Hae
655 West Forest Dr. ue
Houston, TX 77079 -
(832)-259-1634 we
Chris.eustice@sbcglobal.net

UNITED STATES DISTRICT COURT
‘SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

CHRISTOPHER D EUSTICE

Plaintiff,

Vv. Civil Action No.
HALLIBURTON ENERGY SERVICES, INC.

Defendant.
Case 4:19-mc-02596 Document 1-1 Filed on 08/30/19 in TXSD Page 2 of 5

PL EF’ AL PLAINT AND JURY DE D:

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES CHRISTOPHER D EUSTICE, Plaintiff Pro Se, (hereinafter referred to as

“Plaintiff”) complaining of HALLIBURTON ENERGY SERVICES, INC. (hereinafter referred to

as “Defendant”) and files this his Original Complaint and Jury Demand and would respectfully

show as follows:

5.

L JURISDICTION
The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331; 28 U.S.C.
§ 1367; 29 U.S.C. § 794 and 42 U.S.C. §§ 12111-12117.

Ul. VENUE
Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), because a substantial
part of the events and omissions giving rise to this case and the damages sustained by
Plaintiff occurred in Houston, Texas, which is part of the United States District Court
for the Southern District of Texas.

Il; PARTIES ;

At all times relevant to this action, Christopher Eustice, Plaintiff herein, was a

 

student studying Petroleum Engineering. His permanent home address is 655 West
Forest Dr., Houston, TX 77079,

Defendant HALLIBURTON ENERGY SERVICES, INC. is a is a Foreign For-Profit
Corporation, with its principal place of business located at 3000 N Sam Houston
Pkwy E, Houston, TX 77032. HALLIBURTON ENERGY SERVICES, INC. is a
recipient of federal funds under the Rehabilitation Act of 1973. HALLIBURTON
ENERGY SERVICES, INC. can be served through registered agent Capitol
Corporate Services, Inc. at the address 206 E. 9th Street, Suite 1300 Austin, TX
78701-4411 USA.

At all times relevant herein, all HALLIBURTON ENERGY SERVICES, INC.
officials herein were acting within the course and scope of their duties and functions

as agents, servants, and employees of their employer named herein, and otherwise
Case 4:19-mc-02596 Document 1-1 Filed on 08/30/19 in TXSD Page 3 of 5

. 10.

11.

12.

performed and engaged in conduct incidental to their performance of their duties,

such that their employer is fully liable for their actions and inactions.

IV. STATEMENT OF FACTS

Plaintiff graduated as valedictorian of his high school class in 2012 and had a perfect
conduct record. (Exhibit A) Plaintiff is an Eagle Scout. (Exhibit B)

Plaintiff first attended Texas A&M University with a chosen major of Petroleum
Engineering(“PETE”), where he experienced academic success, but after facing
unfair scrutiny from the administration he transferred to Louisiana State
Untversity(“LSU”) in January 2015. Plaintiff attended Texas A&M for nearly 3

years,

On October 29, 2015 the Plaintiff files a Federal lawsuit against Texas A&M ©
University. The lawsuit contains claims under the Americans with Disabilities Act
of 1990 As Amended(“ADA”), and claims under the Rehabilitation Act of
1973(“RA”). Plaintiff has been diagnosed with Attention Deficit/Hyperactivity
Disorder(“ADHD”). Plaintiff has an excellent case against Texas A&M University

and expects to ultimately prevail in the ongoing legal battle.

Between the Fall of 2012 and Spring of 2019, the Plaintiff applied for numerous
positions at HALLIBURTON ENERGY SERVICES, INC.

On numerous occasions HALLIBURTON ENERGY SERVICES, INC. chose to hire
less qualified candidates instead of the Plaintiff, either in discrimination of his

disability or in retaliation to Plaintiff's recently filed Federal Lawsuit. |

Plaintiff had significantly better grades and significantly better work experience than
the less qualified candidates who were hired in his place, and when their resumes are

compared side by side, the Plaintiff has much better grades and work experience.

Less qualified candidates who were offered positions include at least 3 less qualified

candidates named Christopher Adams, Connor Stang, and Brandon de la Houssaye.

TION — VIOLATI F 04
H I T 73 AND L

 
Case 4:19-mc-02596 Document 1-1 Filed on 08/30/19 in TXSD Page 4of5

13.

14.

15.

16.

17.
18.
19.

20.
21,
22.

23.

24.

 

Plaintiff incorporates all preceding paragraphs into this Count by reference as though
fully restated herein.

Plaintiff is a disabled individual under section 504 of the Rehabilitation Act of 1973,
29 U.S.C. § 794 and the Americans With Disabilities Act, 42 U.S.C. §§ 12111-
12117, where disability is defined as a physical or mental impairment that
substantially limits one or more of the major life activities of an individual, a record

of such an impairment, or being regarded as having such an impairment.

Plaintiff requested accommodations during the recruitment process because of his
diagnosed and identified disability, Attention Deficit/Hyperactivity Disorder. These
accommodations were refused.

Defendant made few of the accommodations requested and required by each of these
laws before acting based on behaviors directly related to and resulting from this
disability, even after being made aware of Plaintiff's disability.

HALLIBURTON ENERGY SERVICES, INC. is the recipient of federal funds.

These actions were the proximate cause of Plaintiffs injuries.

Plaintiff asserts that HALLIBURTON ENERGY SERVICES, INC. took adverse
action against him in retaliation to his filing of a Federal Lawsuit with claims under the
Americans with Disabilities Act of 1990, information which was discovered by
company recruiters via google search on the first page of google results under
Plaintiff's name.

Plaintiff experienced a hostile recruiting environment.
Plaintiff asserts that he was discriminated against solely on the basis of his disability.

Plaintiff asserts that less qualified individuals, who were neither disabled nor had any
litigation history, were hired in his place.

Plaintiff asserts that he was fully qualified for all the positions that he applied for.
VI. DAMAGES

Plaintiff is entitled to damages in excess of the jurisdictional limits of this court to
compensate Plaintiff for:
e Damages in an amount exceeding the jurisdictional limits of this court for
failing to grant the accommodations requested and required by Section 504 of
the Rehabilitation Act of 1973 and the Americans With Disabilities Act.

e Damages for violations of state and federal laws and regulations.
Case 4:19-mc-02596 Document 1-1 Filed on 08/30/19 in TXSD Page 5of5

e Punitive damages in an amount sufficient to punish Defendant for its illegal and
unethical behaviors and actions and discourage Defendant from acting in a like
manner in the future.

e Damages for violations of Plaintiff's Civil Rights

e Damages for lost wages and lost work experience in an amount exceeding Five
Hundred Thousand Dollars ($500,000.00)

e Attorneys' fees in an amount to be determined by the Court.

RAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment against Defendant, in the manner and

particulars noted above, and in an amount sufficient to fully compensate Plaintiff for the elements
of damages enumerated above, judgment for damages, and recovery of attorney's fees and costs
for the preparation and trial of this cause of action, and for its appeal if required, together with pre-
and post-judgment interest, and court costs expended herein, and for such other relief as this Court

in law and in equity, deems just and proper.

Respectfully submitted,
Christopher D Eustice
Plaintiff Pro Se

655 West Forest Dr.
Houston, TX 77079
(832) 259 ~ 1634

chris.eustice@sbcglobal net
